Case 1:17-Cr-00232-RC Document 8 Filed 12/01/17 Page 1 of 1

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UNITED sTATEs DISTRICT CoURT

FoR THE I)ISTRICT oF CoLUMBIA C‘e"‘» U-S- D‘SWCP& Bankwmcy
Courts for the District of Columbia

‘ UNITED STATES OF AMERICA

) Criminal No.: 17-cr-232
)
v. )
)
MICHAEL T. FLYNN )
)
Defendant. )
)
O_R_DB

Upon consideration of the Government’s unopposed request and the parties’
representation that the defendant has never been the subject of “routine processing” (booking,
fingerprinting, photographing) by the Metropolitan Police Department in this case, it is this lst
day of December, 2017, hereby

ORDERED that on a date mutually agreeable to the parties, the defendant shall be
accompanied by a Special Agent of the F ederal Bureau of Investigation designated by the
Special Counsel’s Office to the Central Cell Block of the Metropolitan Police Department and
the United States Marshal’s Offrce for “routine processing” and that this be a condition of his

being released on bond.

/WI/L':;

Hon. Rudolph Contreras
United States District Court Judge

 

ccc Government counsel
Defense counsel

